           Case 1:18-bk-11423                        Doc 22            Filed 11/28/18 Entered 11/28/18 15:18:47                     Desc Main
                                                                      Document      Page 1 of 36




 Fill in this information to identify the case:

 Debtor name         Downing Investment Partners, LP

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)         18-11423
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 28, 2018                       X /s/ Stacy B. Ferrara
                                                                       Signature of individual signing on behalf of debtor

                                                                       Stacy B. Ferrara
                                                                       Printed name

                                                                       Court Appointed Trustee
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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            Case 1:18-bk-11423                                  Doc 22               Filed 11/28/18 Entered 11/28/18 15:18:47                                                           Desc Main
                                                                                    Document      Page 2 of 36
 Fill in this information to identify the case:

 Debtor name            Downing Investment Partners, LP

 United States Bankruptcy Court for the:                       DISTRICT OF RHODE ISLAND

 Case number (if known)               18-11423
                                                                                                                                                                                    Check if this is an
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Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $                      0.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47           Desc Main
                                                                     Document      Page 3 of 36
 Fill in this information to identify the case:

 Debtor name         Downing Investment Partners, LP

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)         18-11423
                                                                                                                      Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                         12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     No.    Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 1
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            Case 1:18-bk-11423                       Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                  Desc Main
                                                                     Document      Page 4 of 36
 Debtor         Downing Investment Partners, LP                                               Case number (If known) 18-11423
                Name


     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used     Current value of
                                                                              debtor's interest       for current value         debtor's interest
                                                                              (Where available)

 39.        Office furniture
            Miscellaneous Office Equipment in Storage                                  Unknown                                              Unknown



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software

 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                     $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used     Current value of
                                                                              debtor's interest       for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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            Case 1:18-bk-11423                       Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                 Desc Main
                                                                     Document      Page 5 of 36
 Debtor         Downing Investment Partners, LP                                              Case number (If known) 18-11423
                Name

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Unknown Interest in Series B and Series C
            Units in 3si System, LLC                                                   Unknown                                             Unknown



 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                 Desc Main
                                                                     Document      Page 6 of 36
 Debtor         Downing Investment Partners, LP                                              Case number (If known) 18-11423
                Name

           Possible Fraudulent Conveyance Claim regarding 2017
           court order sale of 1% interest in Med Robotics stock to
           satisfy judgment obtained against the Debtor in the
           following matters:

           Paul D. Giroux v. David Wagner, Downing Investment
           Partners, LP, Downing Partners, LLC, IVC Healthcom,
           LLLC and Cliniflow Technologies, LLC, Judgment No.
           N17J-00001

           Douglas P. Regula v. David Wagner, Downing
           Investment Partners, LP, Downing Partners, LLC, IVC
           Healthcom,LLC, and Cliniflow Technologies, LLC,
           Judgment No. N17J                                                                                                            Unknown
           Nature of claim
           Amount requested                                              $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                               $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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            Case 1:18-bk-11423                           Doc 22            Filed 11/28/18 Entered 11/28/18 15:18:47                                        Desc Main
                                                                          Document      Page 7 of 36
 Debtor          Downing Investment Partners, LP                                                                     Case number (If known) 18-11423
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                         $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                  Desc Main
                                                                     Document      Page 8 of 36
 Fill in this information to identify the case:

 Debtor name         Downing Investment Partners, LP

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)         18-11423
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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            Case 1:18-bk-11423                       Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                         Desc Main
                                                                     Document      Page 9 of 36
 Fill in this information to identify the case:

 Debtor name         Downing Investment Partners, LP

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)          18-11423
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           3si Systems, LLC                                                   Contingent
           c/o Sanford P. Rosen                                               Unliquidated
           747 Third Avenue                                                   Disputed
           New York, NY 10017
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Andrew Hatch                                                       Contingent
           19 Andrea Lane                                                     Unliquidated
           Norwich, CT 06360                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Andrew Lazar                                                       Contingent
           21 Hemlock Road                                                    Unliquidated
           Andover, MA 01810                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Barry Keenan                                                       Contingent
           Equity Trust Company                                               Unliquidated
           26949 Redwood Bluff Lane                                           Disputed
           Stevenson Ranch, CA 91381
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 10 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Ben Khosvari                                                        Contingent
          8100 Gaylord Parkway                                                Unliquidated
          Unit 1224                                                           Disputed
          Frisco, TX 75034
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Bill Flecky                                                         Contingent
          1788 Ridgetrail Lane                                                Unliquidated
          Castle Rock, CO 80104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Brent Barbara                                                       Contingent
          Pinecrest Holdings, LLC                                             Unliquidated
          63 Pinecrest Drive                                                  Disputed
          Woodcliff Lake, NJ 07677
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Brett Giffin                                                        Contingent
          Equity Trust Company                                                Unliquidated
          46 Lake Drive                                                       Disputed
          Mountain Lakes, NJ 07046
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Brian Woodbury                                                      Contingent
          2017 Westbourne Way                                                 Unliquidated
          Alpharetta, GA 30022                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          CAC, LLC                                                            Contingent
          4350 Lajolla Village Drive                                          Unliquidated
          Suite 320                                                           Disputed
          San Diego, CA 92122
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Cliniflow Technologies ,LLC                                         Contingent
          c/o David W. Wagner                                                 Unliquidated
          55 Downing Street                                                   Disputed
          East Greenwich, RI 02818
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 11 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Cornelius Colley                                                    Contingent
          31 Brookville Road                                                  Unliquidated
          Brookville, NY 11545                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          David Hilderbrand                                                   Contingent
          Equity Trust Company                                                Unliquidated
          6054 Toscana Loop                                                   Disputed
          El Dorado Hills, CA 95762
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          David Kiderman                                                      Contingent
          240 E. 82nd Street, #5E                                             Unliquidated
          New York, NY 10028                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          David Stalder                                                       Contingent
          Equity Trust Company                                                Unliquidated
          1900 Highgate Road                                                  Disputed
          Upper St. Clair, PA 15241
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          David W. Wagner                                                     Contingent
          55 Downing Street                                                   Unliquidated
          East Greenwich, RI 02818                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Debra Lang                                                          Contingent
          7640 Crosswind Court                                                Unliquidated
          Lakeville, MN 55044                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Dennis Doane                                                        Contingent
          Equity Trust Company                                                Unliquidated
          3760 Casey Key Road                                                 Disputed
          Nokomis, FL 34275
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 12 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Dinhduy Tran                                                        Contingent
          77 Grove Road                                                       Unliquidated
          Andover, MA 01810                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Doug Regula                                                         Contingent
          1137 Hedgerow Drive                                                 Unliquidated
          Garnet Valley, PA 19060                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Downing Acquisition                                                 Contingent
          Partners, LLC                                                       Unliquidated
          590 Madison Avenue, 21st Floor                                      Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Downing Partners, LLC                                               Contingent
          c/o David W. Wagner                                                 Unliquidated
          55 Downing Street                                                   Disputed
          East Greenwich, RI 02818
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Edward Howley                                                       Contingent
          2146 Cricket Lane                                                   Unliquidated
          Columbiana, OH 44408                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Edward J. Stefanides                                                Contingent
          Equity Trust Company                                                Unliquidated
          535 North Briarcliff Drive                                          Disputed
          Canfield, OH 44406
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Eric Hassman                                                        Contingent
          211 Stewart Street                                                  Unliquidated
          Greenville, SC 29605                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 13 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Frank Sicilia                                                       Contingent
          645 Vincent Avenue                                                  Unliquidated
          Bronx, NY 10465                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          George Robbie                                                       Contingent
          340 Fallen Leaf Lane                                                Unliquidated
          Roswell, GA 30075                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Glen Haufler                                                        Contingent
          8 Walnut Street                                                     Unliquidated
          Acton, MA 01720                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Greg Auda                                                           Contingent
          Equity Trust Company                                                Unliquidated
          P.O. Box 99                                                         Disputed
          Birchrunville, PA 19421
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Gregory C. Siuciak                                                  Contingent
          Equity Trust Company                                                Unliquidated
          265 Thorn Street                                                    Disputed
          Sewickley, PA 15143
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Hanover Sq. Capital PartnerLP                                       Contingent
          c/o David W. Wagner                                                 Unliquidated
          55 Downing Street                                                   Disputed
          East Greenwich, RI 02818
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Harold Strandquist                                                  Contingent
          1056 East Highway 96                                                Unliquidated
          Saint Paul, MN 55127                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 14 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Henry Howard                                                        Contingent
          1200 Brickell Avenue                                                Unliquidated
          Suite 310                                                           Disputed
          Miami, FL 33131
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          James McAvinn                                                       Contingent
          5 Woods Avenue                                                      Unliquidated
          Stanhope, NJ 07874                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jan Mosholt                                                         Contingent
          Equity Trust Company                                                Unliquidated
          7041 Copperleaf Place                                               Disputed
          Cary, NC 27519
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jarrod Brett Raper                                                  Contingent
          Equity Trust Company                                                Unliquidated
          56 Hancock Road                                                     Disputed
          Franklin, MA 02038
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jay Pila                                                            Contingent
          JP Holdings LLC                                                     Unliquidated
          21 Rockage Road                                                     Disputed
          Warren, NJ 07059
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jeffrey Rice                                                        Contingent
          46 Highland Road                                                    Unliquidated
          Boxford, MA 01921                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jim Fries                                                           Contingent
          101 Aaron Way                                                       Unliquidated
          North Wales, PA 19454                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 15 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          John Hart                                                           Contingent
          5810 Ridings Manor Place                                            Unliquidated
          Centreville, VA 20120                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          John Henesey                                                        Contingent
          48 Cottage Street                                                   Unliquidated
          Hingham, MA 02043                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jonathan Cutler                                                     Contingent
          11409 Marcliff Road                                                 Unliquidated
          Rockville, MD 20852                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Joseph Wesley                                                       Contingent
          Taft Service Solutions                                              Unliquidated
          425 Walnut Street, Suite 1800                                       Disputed
          Cincinnati, OH 45202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Ken Stephens                                                        Contingent
          3411 Brentwood                                                      Unliquidated
          Colleyville, TX 76034                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Kevin Conlon                                                        Contingent
          483 E. Highway 56                                                   Unliquidated
          Berthoud, CO 80513                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Leonard Mancini                                                     Contingent
          7484 Morelli Avenue                                                 Unliquidated
          Brooksville, FL 34613                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 16 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Louis Houff                                                         Contingent
          285 Grove Park Road                                                 Unliquidated
          Collierville, TN 38017                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Lynnea Raper                                                        Contingent
          The Entrust Group                                                   Unliquidated
          56 Hancock Road                                                     Disputed
          Franklin, MA 02038
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Marc Lawrence                                                       Contingent
          c/o Kevin M. Daley                                                  Unliquidated
          1383 Warwick Avenue                                                 Disputed
          Warwick, RI 02888
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Margaret and David Abernethy                                        Contingent
          Equity Trust Company                                                Unliquidated
          31319 Timothy's Trail                                               Disputed
          Conifer, CO 80433
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Mark Miller                                                         Contingent
          2106 Colina Del Arco Iris                                           Unliquidated
          San Clemente, CA 92673                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Matthew Decker                                                      Contingent
          4708 Clipper Drive                                                  Unliquidated
          Bradenton, FL 34208                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Michael E. Bee                                                      Contingent
          Trust Dated 10/20/03                                                Unliquidated
          2516 Marlboro Road                                                  Disputed
          Cleveland, OH 44118
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 17 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Michael Grumbine                                                    Contingent
          1319 Bernardo CT NE                                                 Unliquidated
          Albuquerque, NM 87113                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Michael Shaut                                                       Contingent
          Trust dated November 30, 2001                                       Unliquidated
          16250 Aldersyde Drive                                               Disputed
          Cleveland, OH 44120
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Paul Giroux                                                         Contingent
          41 Horseshoe Road                                                   Unliquidated
          Windham, NH 03087                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Pedro Alcantara                                                     Contingent
          13014 Silverleaf Court                                              Unliquidated
          Plainfield, IL 60585                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Ponce Kenton                                                        Contingent
          Equity Trust Company                                                Unliquidated
          7444 Augusta Drive                                                  Disputed
          Boulder, CO 80301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Raymond Childress                                                   Contingent
          1341 Gulfport Run                                                   Unliquidated
          Grayson, GA 30017                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Richard L. Buckingham                                               Contingent
          28436 Sombrero Drive                                                Unliquidated
          Bonita Springs, FL 34135                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 18 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Rob Kloecker                                                        Contingent
          535 East North Avenue                                               Unliquidated
          Lake Bluff, IL 60044                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Ronald Page                                                         Contingent
          82 Crestone Way                                                     Unliquidated
          Castle Rock, CO 80108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Ryan Detzel                                                         Contingent
          5489 Turnberry Lane                                                 Unliquidated
          Cleveland, OH 44143                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Scott Lehigh                                                        Contingent
          219 Meadowfield Lane                                                Unliquidated
          Clairton, PA 15025                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Shane Hawes                                                         Contingent
          c/o Christopher DeVito                                              Unliquidated
          623 W. St. Clair Avenue                                             Disputed
          Cleveland, OH 44114
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Sofia Rexach                                                        Contingent
          48 Sargeant Avenue                                                  Unliquidated
          Clifton, NJ 07013                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Stephen and Lindsay Forden                                          Contingent
          525 Mercer Road                                                     Unliquidated
          Princeton, NJ 08540                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 19 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Surgical Safety Solutions, LLC                                      Contingent
          c/o David W. Wagner                                                 Unliquidated
          55 Downing Street                                                   Disputed
          East Greenwich, RI 02818
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Thomas & Melissa Fitzpatrick                                        Contingent
          Revocable Living Trust                                              Unliquidated
          909 Bayberry Drive                                                  Disputed
          Chapel Hill, NC 27517
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Thomas Hickman                                                      Contingent
          107 Duckwood Lane                                                   Unliquidated
          Cary, NC 27511                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Timothy A. Caver                                                    Contingent
          Equity Trust Company                                                Unliquidated
          10 Iron River Court                                                 Disputed
          Missouri City, TX 77459
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Vince Schuessler                                                    Contingent
          3333 Gulf Shore Boulevard                                           Unliquidated
          North #5                                                            Disputed
          Naples, FL 34103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Viresh Sitapara                                                     Contingent
          600 Calumet Court                                                   Unliquidated
          Florence, SC 29501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Warner C. Pyne III                                                  Contingent
          162 Center Road                                                     Unliquidated
          Woodbridge, CT 06525                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                     Desc Main
                                                                     Document     Page 20 of 36
 Debtor       Downing Investment Partners, LP                                                         Case number (if known)            18-11423
              Name

 3.75      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Wesley Holdings Limited                                            Contingent
           30100 Chagrin Boulevard                                            Unliquidated
           Suite 301                                                          Disputed
           Pepper Pike, OH 44124
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.76      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           William R. Koch                                                    Contingent
           Equity Trust Co. Custodian                                         Unliquidated
           414 Haverford Avenue                                               Disputed
           Marbeth, PA 19072
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.77      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           William W. Murfey                                                  Contingent
           FBO Mary V. Murfey                                                 Unliquidated
           200 Public Square, Suite 2005                                      Disputed
           Cleveland, OH 44114
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       3si Systems, LLC
           590 Madison Avenue                                                                         Line     3.1
           21st Floor
           New York, NY 10022                                                                               Not listed. Explain


 4.2       Charles A. Pisaturo, Esq.
           1055 Elmwood Avenue                                                                        Line     3.25
           Providence, RI 02907
                                                                                                            Not listed. Explain

 4.3       Marc Lawrence
           35 Lyonia Lane                                                                             Line     3.49
           Santa Rosa Beach, FL 32459
                                                                                                            Not listed. Explain

 4.4       Matthew McGowan, Esq.
           321 South Main Street                                                                      Line     3.75
           Suite 301
           Providence, RI 02903                                                                             Not listed. Explain


 4.5       Michael A. VanNiel, Esq.
           127 Public Sq., Suite 2000                                                                 Line     3.75
           Cleveland, OH 44114
                                                                                                            Not listed. Explain

 4.6       Russell Raskin, Esq.
           Raskin & Berman                                                                            Line     3.16
           116 East Manning Street
           Providence, RI 02906                                                                             Not listed. Explain



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                             Desc Main
                                                                     Document     Page 21 of 36
 Debtor       Downing Investment Partners, LP                                                    Case number (if known)        18-11423
              Name


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                            0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                            0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                              0.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 13 of 13
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                      Desc Main
                                                                     Document     Page 22 of 36
 Fill in this information to identify the case:

 Debtor name         Downing Investment Partners, LP

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)         18-11423
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                 Desc Main
                                                                     Document     Page 23 of 36
 Fill in this information to identify the case:

 Debtor name         Downing Investment Partners, LP

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)         18-11423
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:

    2.1      3si Systems, LLC                  c/o Sanford P. Rosen                               Jay Pila                      D
                                               747 Third Avenue                                                                  E/F        3.37
                                               New York, NY 10017
                                                                                                                                G




    2.2      3si Systems, LLC                  c/o Sanford P. Rosen                               John Hart                     D
                                               747 Third Avenue                                                                  E/F        3.40
                                               New York, NY 10017
                                                                                                                                G




    2.3      Andrew Hatch                      19 Andrea Lane                                     John Hart                     D
                                               Norwich, CT 06360                                                                 E/F        3.40
                                                                                                                                G



    2.4      Brett Giffin                      Equity Trust Company                               John Hart                     D
                                               46 Lake Drive                                                                     E/F        3.40
                                               Mountain Lakes, NJ 07046
                                                                                                                                G




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 1 of 4
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                   Desc Main
                                                                     Document     Page 24 of 36
 Debtor       Downing Investment Partners, LP                                                Case number (if known)   18-11423


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Cliniflow                         c/o David W. Wagner                                John Hart                      D
             Technologies                      55 Downing Street                                                                  E/F       3.40
             ,LLC                              East Greenwich, RI 02818
                                                                                                                                 G




    2.6      Cliniflow                         c/o David W. Wagner                                Paul Giroux                    D
             Technologies                      55 Downing Street                                                                  E/F       3.56
             ,LLC                              East Greenwich, RI 02818
                                                                                                                                 G




    2.7      David W. Wagner                   55 Downing Street                                  Jay Pila                       D
                                               East Greenwich, RI 02818                                                           E/F       3.37
                                                                                                                                 G



    2.8      David W. Wagner                   55 Downing Street                                  John Hart                      D
                                               East Greenwich, RI 02818                                                           E/F       3.40
                                                                                                                                 G



    2.9      David W. Wagner                   55 Downing Street                                  Ken Stephens                   D
                                               East Greenwich, RI 02818                                                           E/F       3.44
                                                                                                                                 G



    2.10     David W. Wagner                   55 Downing Street                                  Paul Giroux                    D
                                               East Greenwich, RI 02818                                                           E/F       3.56
                                                                                                                                 G



    2.11     Doug Regula                       1137 Hedgerow Drive                                Paul Giroux                    D
                                               Garnet Valley, PA 19060                                                            E/F       3.56
                                                                                                                                 G



    2.12     Downing                           c/o David W. Wagner                                Jay Pila                       D
             Partners, LLC                     55 Downing Street                                                                  E/F       3.37
                                               East Greenwich, RI 02818
                                                                                                                                 G



Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 2 of 4
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                   Desc Main
                                                                     Document     Page 25 of 36
 Debtor       Downing Investment Partners, LP                                                Case number (if known)   18-11423


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.13     Downing                           c/o David W. Wagner                                John Hart                      D
             Partners, LLC                     55 Downing Street                                                                  E/F       3.40
                                               East Greenwich, RI 02818
                                                                                                                                 G




    2.14     Downing                           c/o David W. Wagner                                Paul Giroux                    D
             Partners, LLC                     55 Downing Street                                                                  E/F       3.56
                                               East Greenwich, RI 02818
                                                                                                                                 G




    2.15     Edward J.                         Equity Trust Company                               John Hart                      D
             Stefanides                        535 North Briarcliff Drive                                                         E/F       3.40
                                               Canfield, OH 44406
                                                                                                                                 G




    2.16     Greg Auda                         Equity Trust Company                               John Hart                      D
                                               P.O. Box 99                                                                        E/F       3.40
                                               Birchrunville, PA 19421
                                                                                                                                 G




    2.17     Hanover Sq.                       c/o David W. Wagner                                John Hart                      D
             Capital                           55 Downing Street                                                                  E/F       3.40
             PartnerLP                         East Greenwich, RI 02818
                                                                                                                                 G




    2.18     Jeffrey Rice                      46 Highland Road                                   John Hart                      D
                                               Boxford, MA 01921                                                                  E/F       3.40
                                                                                                                                 G



    2.19     Marc Lawrence                     c/o Kevin M. Daley                                 John Hart                      D
                                               1383 Warwick Avenue                                                                E/F       3.40
                                               Warwick, RI 02888
                                                                                                                                 G




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 3 of 4
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                   Desc Main
                                                                     Document     Page 26 of 36
 Debtor       Downing Investment Partners, LP                                                Case number (if known)   18-11423


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.20     Michael                           1319 Bernardo CT NE                                John Hart                      D
             Grumbine                          Albuquerque, NM 87113                                                              E/F       3.40
                                                                                                                                 G



    2.21     Richard L.                        28436 Sombrero Drive                               John Hart                      D
             Buckingham                        Bonita Springs, FL 34135                                                           E/F       3.40
                                                                                                                                 G



    2.22     Stephen and                       525 Mercer Road                                    John Hart                      D
             Lindsay Forden                    Princeton, NJ 08540                                                                E/F       3.40
                                                                                                                                 G



    2.23     Surgical Safety                   c/o David W. Wagner                                Jay Pila                       D
             Solutions, LLC                    55 Downing Street                                                                  E/F       3.37
                                               East Greenwich, RI 02818
                                                                                                                                 G




    2.24     Wagner Family                     c/o David W. Wagner                                Ken Stephens                   D
             Trust                             55 Downing Street                                                                  E/F       3.44
                                               East Greenwich, RI 02818
                                                                                                                                 G




    2.25     Wagner Family                     c/o David W. Wagner                                John Hart                      D
             Trust                             55 Downing Street                                                                  E/F       3.40
                                               East Greenwich, RI 02818
                                                                                                                                 G




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 4 of 4
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                             Desc Main
                                                                     Document     Page 27 of 36


 Fill in this information to identify the case:

 Debtor name         Downing Investment Partners, LP

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)         18-11423
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                   Unknown
       From 1/01/2018 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                                   Unknown
       From 1/01/2017 to 12/31/2017
                                                                                                Other


       For year before that:                                                                    Operating a business                                   Unknown
       From 1/01/2016 to 12/31/2016
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                Desc Main
                                                                     Document     Page 28 of 36
 Debtor       Downing Investment Partners, LP                                                           Case number (if known) 18-11423



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Jay Pila v. Surgical Safety                      Lawsuit                    New York Supreme Court                      Pending
               Solutions, 3si Systems,                                                     60 Centre Street                            On appeal
               Downing Partners, Downing                                                   New York, NY 10007                            Concluded
               Investment Partners, David
               Wagner
               2017-650708

       7.2.    Shane Hawe v. 3si Systems                        Lawsuit                    Ohio State Court                              Pending
               (f/k/a Downing Health                                                       65 South Front Street                       On appeal
               Technologies), Downing                                                      Columbus, OH 43215
                                                                                                                                       Concluded
               Partners, DIP, LP, Lawrence,
               Shaut, David W. Wagner
               CV-16-857599

       7.3.    Glenn Haufler v. 3si Systems                                                Middlesex County Superior                     Pending
               (f/k/a Downing Health                                                       Court                                       On appeal
               Technologies), Downing                                                      360 Gorham Street
                                                                                                                                       Concluded
               Partners, DIP, LP, Giffin,                                                  Lowell, MA 01852
               Shaut, David W. Wagner
               17-3362




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                             Desc Main
                                                                     Document     Page 29 of 36
 Debtor       Downing Investment Partners, LP                                                           Case number (if known) 18-11423



               Case title                                       Nature of case             Court or agency's name and            Status of case
               Case number                                                                 address
       7.4.    Kiderman, Detzel,                                Lawsuit                    New York Southern District                 Pending
               Hidderbrand, Miller v. 3si                                                  Court                                  On appeal
               Systems, LLC, DIP, LP;                                                      500 Pearl Street
                                                                                                                                  Concluded
               Downing Partners, LLC; IVC,                                                 New York, NY 10007
               Mike Shaut; Greg Auda;
               Richard Buckingham; Jeff
               Rice; Marc Lawrence; Brett
               Giffin; David W. Wagner
               16-CV-04040

       7.5.    Wesley Holdings v. Surgical                      Lawsuit                    New York Southern District                 Pending
               Safety Solutions; 3si                                                       Court                                  On appeal
               Systems, LLC; Downing                                                       500 Pearl Street
                                                                                                                                  Concluded
               Investment Partners, LP;                                                    New York, NY 10007
               Downing Partners, LLC;
               DDHG; CliniFlow
               Technologies, LLC; Hanover
               Square Capital Partners, LP;
               David W. Wagner
               USDC-SD-NY-17-CV-3362

       7.6.    Decker et al v. CliniFlow                        Arbitration                New York Arbitration Court                 Pending
               Technologies; Downing                                                       150 E. 42nd Street                     On appeal
               Partners; Downing                                                           New York, NY 10017
                                                                                                                                  Concluded
               Investment Partners, LP;
               Hanover Square Capital
               Partners, LP; Lawrence;
               Buckingham; Shaut; David W.
               Wagner


       7.7.    Stephens, Ken v. Downing                         Lawsuit                    Suffolk County Superior                Pending
               Investment Partners, LP;                                                    Court                                  On appeal
               Wagner Family Trust; David                                                  3 Pemberton Square                         Concluded
               Wagner                                                                      Boston, MA 02108
               1681-cv-3302

       7.8.    Giroux/Regula vs. Downing                        Lawsuit                    Delaware State Court                   Pending
               Investment Partners, LP;                                                    500 North King Street #3500            On appeal
               Downing Partners, LC; IVC;                                                  Wilmington, DE 19801                       Concluded
               Cliniflow Technologies; David
               W. Wagner


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                               Desc Main
                                                                     Document     Page 30 of 36
 Debtor       Downing Investment Partners, LP                                                              Case number (if known) 18-11423



 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss          Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                 Dates transfers           Total amount or
                                                                                                                       were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer           Total amount or
               Address                                          payments received or debts paid in exchange              was made                         value
       13.1                                                     1% of MedRobotics stock sold to satisfy
       .                                                        Arbitration Award entered in Supeior
                                                                Court for New Castle County Delaware
                                                                with estimated balance of $1.9 million;
               Unknown Party                                    Asset's estimated value between $6 and
                                                                7 million                                                Summer 2017              $1,900,000.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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            Case 1:18-bk-11423                       Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                            Desc Main
                                                                     Document     Page 31 of 36
 Debtor        Downing Investment Partners, LP                                                          Case number (if known) 18-11423



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     The Gardens Office Park                                                                                   2016-December 2017
                 1350 Division Road
                 Suite 205
                 West Warwick, RI 02893

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                 Financial Institution name and                 Last 4 digits of          Type of account or          Date account was              Last balance
                 Address                                        account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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            Case 1:18-bk-11423                       Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                            Desc Main
                                                                     Document     Page 32 of 36
 Debtor      Downing Investment Partners, LP                                                            Case number (if known) 18-11423




       None
       Facility name and address                                      Names of anyone with                Description of the contents        Do you still
                                                                      access to it                                                           have it?
       PODs Storage Facility                                          Hanover Square Capital              Miscellaneous office                No
       185 Compass Circle                                             Partners, LP                        equipment, books and                Yes
       North Kingstown, RI 02852                                                                          records



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                     Court or agency name and            Nature of the case                 Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 6
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            Case 1:18-bk-11423                       Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                                  Desc Main
                                                                     Document     Page 33 of 36
 Debtor      Downing Investment Partners, LP                                                            Case number (if known) 18-11423



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Medical Technology                               EIN:
             MedRobotics, Inc.
                                                              1% Interest
                                                                                                               From-To      Unknown

    25.2.                                                                                                      EIN:
             3si Systems, LLC
             c/o David Wagner
             55 Downing Street                                                                                 From-To
             East Greenwich, RI 02818


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Bloom Shapiro                                                                                                              Accountant; Dates
                    50 Holden Street                                                                                                           of Service:
                    Providence, RI 02908                                                                                                       Unknown
       26a.2.       Growth Lab Financial Services                                                                                              Bookkeeper; Dates
                    Attn: Dan Gertrudes                                                                                                        of Service:
                    145 Globe Street                                                                                                           Unknown
                    Fall River, MA 02724

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       David W. Wagner
                    55 Downing Street
                    East Greenwich, RI 02818

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                            Desc Main
                                                                     Document     Page 34 of 36
 Debtor      Downing Investment Partners, LP                                                            Case number (if known) 18-11423



       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Hanover Sq. Capital                            c/o David W. Wagner                                 992, 821 Units                     79.04%
       Partners LP                                    55 Downing Street
                                                      East Greenwich, RI 02818
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Michael Shaut                                  Trust dated November 30, 2001                       111,895 Units                      8.91%
                                                      16250 Aldersyde Drive
                                                      Cleveland, OH 44120
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Marc Lawrence                                  35 Lyonia Lane                                      5,000 units                        0.40%
                                                      Santa Rosa Beach, FL 32459

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Richard L. Buckingham                          28436 Sombrero Drive                                4,650 Units                        0.37%
                                                      Bonita Springs, FL 34135

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Brett Giffin                                   Equity Trust Company                                7,610 Units                        0.61%
                                                      46 Lake Drive
                                                      Mountain Lakes, NJ 07046
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Greg Auda                                      Equity Trust Company                                7,610 Units                        0.61%
                                                      P.O. Box 99
                                                      Birchrunville, PA 19421
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Glenn Haufler                                  8 Walnut Street                                     7,610 Units                        0.61%
                                                      Acton, MA 01720

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Lynnea Raper                                   The Entrust Group                                   3,110 Units                        0.25%
                                                      56 Hancock Road
                                                      Franklin, MA 02038
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Jarrod Brett Raper                             Equity Trust Company                                3,740 Units                        0.30%
                                                      56 Hancock Road
                                                      Franklin, MA 02038
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       William R. Koch                                Equity Trust Co. Custodian                          5,155 Units                        0.41%
                                                      414 Haverford Avenue
                                                      Marbeth, PA 19072
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Timothy A. Caver                               Equity Trust Company                                4,124 Units                        0.33%
                                                      10 Iron River Court
                                                      Missouri City, TX 77459
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Ronald Page                                    82 Crestone Way                                     13,700 Units                       1.09%
                                                      Castle Rock, CO 80108



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 8
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            Case 1:18-bk-11423                       Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                            Desc Main
                                                                     Document     Page 35 of 36
 Debtor      Downing Investment Partners, LP                                                            Case number (if known) 18-11423



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael E. Bee                                 Truste Dated 10/20/03                               3,425 Units                           0.27%
                                                      2516 Marlboro Road
                                                      Cleveland, OH 44118
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       William W. Murfey                              FBO Mary V. Murfey                                  27,400 Units                          2.18%
                                                      200 Public Square, Suite 2005
                                                      Cleveland, OH 44114
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       CAC, LLC                                       4350 Lajolla Village Drive                          27,400 Units                          2.18%
                                                      Suite 320
                                                      San Diego, CA 92122
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       3si Systems, LLC                               c/o David Wagner                                    20,875 Units                          1.66%
                                                      55 Downing Street
                                                      East Greenwich, RI 02818
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Downing Partners, LLC                          c/o Steven Jesser, Esq.                             10,000 Units                          0.80%
                                                      2700 Patriot Blvd., Suite 250
                                                      Glenview, IL 60026


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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           Case 1:18-bk-11423                        Doc 22           Filed 11/28/18 Entered 11/28/18 15:18:47                            Desc Main
                                                                     Document     Page 36 of 36
 Debtor      Downing Investment Partners, LP                                                            Case number (if known) 18-11423



      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 28, 2018

 /s/ Stacy B. Ferrara                                                   Stacy B. Ferrara
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Court Appointed Trustee

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 10
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